 Case:17-03725-EAG11 Doc#:107 Filed:07/06/18 Entered:07/06/18 16:40:38        Desc: Main
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 1                        IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3    IN RE:

 4                                             CASE NO. 17-03725 EAG

      ELIZABETH     VEGA RAMOS                 Chapter 11
 5
      MARTIN   RODRIGUEZ COLON
 6

 7
      XXX-XX-8084
 8
      XXX-XX-1157
 9
                                                     FILED & ENTERED ON 7/6/18
10
                       Debtor(s)
11

12                                          ORDER
13         The Debtors' to claim #8 (docket #96) is hereby granted, upon the response
14   filed by claimant, Puerto Rico Electric Power Authority (docket #104).
15
           IT IS SO ORDERED.
16
           Ponce, Puerto Rico, this 06 day of July, 2018.
17

18

19                                                           Edward A Godoy
                                                         U.S. Bankruptcy Judge
20

21   CC:   DEBTOR(S)
           LYSSETTE A MORALES VIDAL
22

23

24

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